  Case 3:19-md-02885-MCR-HTC              Document 3701         Filed 03/19/23       Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS )
 EARPLUG PRODUCTS LIABILITY )
 LITIGATION                         )
                                    )
 This Document Relates to All Cases )
                                    )
                                    )             Case No. 3:19-md-02885
                                    )
                                    )
                                    )
                                    )
                                    )
                                    )


                          NOTICE OF WITHDRAWAL
               OF COUNSEL PURSUANT TO LOCAL RULE 11.1(H)(1)(B)
                AND REQUEST FOR REMOVAL FROM SERVICE LIST

       PLEASE TAKE NOTICE that attorney Charles Luther McCloud, of the law firm Williams

& Connolly LLP, is withdrawing as counsel for Elliott Berger in the above-referenced multi-district

litigation, and should be removed from the docket and electronic service list accordingly. As

required by Local Rule 11.1(H)(1)(b), Mr. Berger consents to this withdrawal, and the withdrawal

will leave Mr. Berger with counsel of record who will continue in the case.

 DATED: March 19, 2023                            By: /s/ Michael J. Mestitz
                                                      Michael J. Mestitz
                                                      WILLIAMS & CONNOLLY LLP
                                                      680 Maine Avenue, SW
                                                      Washington, DC 20024
                                                      Telephone: (202) 434-5000
                                                      Facsimile: (202) 434-5029
                                                      Email: mmestitz@wc.com

                                                       Attorney for Elliott Berger
  Case 3:19-md-02885-MCR-HTC              Document 3701       Filed 03/19/23   Page 2 of 2




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS )
 EARPLUG PRODUCTS LIABILITY )
 LITIGATION                         )
                                    )
 This Document Relates to All Cases )
                                    )
                                    )             Case No. 3:19-md-02885
                                    )
                                    )
                                    )
                                    )
                                    )
                                    )


                                CERTIFICATE OF SERVICE


       I hereby certify that on March 19, 2023, I caused a copy of the foregoing NOTICE OF

WITHDRAWAL OF COUNSEL PURSUANT TO LOCAL RULE 11.1(H)(1)(B) AND

REQUEST FOR REMOVAL FROM SERVICE LIST to be filed through the Court’s CM/ECF

system, which will serve all counsel of record.

 DATED: March 19, 2023                                /s/ Michael J. Mestitz
                                                      Michael J. Mestitz
